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 8                     UNITED STATES DISTRICT COURT
 9                   NORTHERN DISTRICT OF CALIFORNIA
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11                                  )
     IN RE RUBBER CHEMICALS         )
12   ANTITRUST LITIGATION,          )       No. M:04-01648 MJJ (BZ)
                                    )
13                                  )       INITIAL DISCOVERY ORDER
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14                                  )
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15                                  )
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17             Following the telephonic discovery conference, IT IS
18   HEREBY ORDERED that the parties meet and confer to try to
19   resolve the discovery disputes described in their letters to
20   the court in accordance with the views expressed by the court.
21   The parties shall meet in person or, if counsel are outside
22   the Bay Area, by telephone and make a good faith effort to
23   resolve their dispute.    Exchanging letters or telephone
24   messages about the dispute is insufficient.       The Court will
25   not read subsequent positioning letters; parties shall instead
26   make a contemporaneous record of their meeting using a tape
27   recorder or a court reporter.
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 1         If the disputes cannot be resolved, plaintiffs are
 2   granted leave to file letter briefs of no more than five pages
 3   outlining the issues and authorities in support of their
 4   positions by February 14, 2006.             Plaintiffs shall lodge a
 5   record of the meet and confer session with their letter
 6   briefs.    Any opposition shall be filed by February 21, 2006
 7   and any reply shall be filed by February 24, 2006.                  The briefs
 8   should be electronically filed.             A chambers copy of all briefs
 9   shall be submitted by e-mail in WordPerfect format to the
10   following address:        bzpo@cand.uscourts.gov or delivered
11   directly to Magistrate Judge Zimmerman’s Chambers (Room 15-
12   6688) on a diskette formatted in WordPerfect 6, 8, 9 or 10.
13   The diskette shall be scanned for virus before submission.
14         The court will set a hearing if one is deemed necessary.
15   Dated:    February 7, 2006
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17                                         Bernard Zimmerman
                                  United States Magistrate Judge
18
19   G:\BZALL\-REFS\IN RE RUBBER CHEMICALS\INITIAL DISCOVERY.ORDER.wpd

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